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To Whomever it May Concern,

We are writing this letter as a way to provide insight for the court into the true character
of Jorge Salcedo. My husband, Dan Beaney, met Jorge when they were teammates on
the UCLA soccer team in the early 1990’s. Their friendship was immediate ; not only
did they bond over their love of the game, but connected over their shared stories of
connection to their family and goals for their future. It is a close friendship that remains
today, with many conversations shared around career decisions, the bond between our
two families, raising kids, and yes, of course the continual love of the game of soccer. I
myself came to know Jorge well when he married his incredible wife Rebecca and I was
dating my husband. She quickly became one of my very best friends as we invested
much time into raising our kids together, involving ourselves in church and bible studies,
and spending holidays together. We have made some of our best memories with their
family over the past 15 years.

To speak of Jorge’s character is to also speak of Rebecca and how deeply committed
they are to growing as a couple and prioritizing their family. Yet we realize that in this
circumstance it is critical to highlight who Jorge is at his core. Jorge epitomizes a
servants heart, he takes great pride in how he takes care of others. He is always looking
for ways to help, from the smallest of tasks to the biggest. Jorge truly is a person that
would give the shirt off of his back to help another, and not take an ounce of recognition
or credit in doing so; it’s just how he loves others. Jorge is proud when he can
introduce and connect friends or colleagues as a way to help others build friendship and
business. This was also true in helping young athletes. He is eager to help connect
them to strong coaches, development programs, and spend countless hours advising
them for future success. Connecting players and programs was pattern he was also
taught through the UCLA system, a school he loved with all of his heart, so for one to
think he would deceive them is simply inconceivable.

Jorge has spent much of his years after becoming a father investing deeply into his
Christian faith. It is a genuine intention of his to learn how to be the best husband and
father he can. Knowing this makes it that much harder to see the angst in his eyes and
heart knowing that decisions he made caused such deep hurt to those he loves
most. His shame should never shadow his heart, this is a man who sincerely made
decisions, and thus mistakes, with the thought of supporting his family always on the
forefront of his mind. We’ve witnessed Jorge go through many emotions and self-
reflection through this ordeal. It’s hard to watch someone you know and love battle with
deep regret and shame. He has humbled himself completely before family and friends
and takes full responsibility for his part in this story.

Naturally there are consequences for poor choices in life, Jorge himself would not argue
this. Yet, we would argue that Jorge has already suffered a tremendous amount of
fallout and consequences from this. He has been stripped of every accolade he worked
hard for in establishing respect within his career. The effect it has had on his family is
hard to fathom, and that weighs heavily on him. The suffering his kids and wife have
experienced from being awoken in the dark hours of the morning to federal agents with
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guns drawn, to having to abruptly leave their beloved friends, community and teams in
LA to move to Northern California, and to the constant fear and wondering around
Jorge’s expectant sentencing has brought about enough consequences. . Jorge’s
absence, should he be sentenced to jail time, would only add to the emotional damage
that his entire family has already faced in the past 2 years. The effects this has had on
his family is something Jorge will live with for a lifetime, so we ask of you to see the
heart of this man. No one should be judged entirely on the worst thing they’ve done in
their life, but rather by the impact they’ve had on others at large.

We ask that you recognize the influential role that the UCLA athletic department
leadership played in how they directed coaching staff to recruit and fundraise for their
teams. That is not said as a means of deflecting responsibility, but more to validate a
systemic problem that encouraged deception. We plead with you to consider a merciful
sentencing, realizing the high price he has paid with the loss of his career and more
importantly the deep negative impact this has had on his beloved family. There has
been great collateral damage, something Jorge will forever regret, please consider the
long term effects on his family when deciding his fate this Friday.

We send this with great respect and sincerity,
Kasi and Dan Beaney
